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                                UNITED STATES DISTRICT COURT
                                 THE DISTRICT OF NEW JERSEY


THE INDEPENDENCE PROJECT, INC., a New                   iv. No.: 2:16-cv-05562 (MCA)(MAH)
Jersey Non-Profit Corporation, and RONALD
MOORE, IndMdually,

                                Plaintiffs,
                        V.


ALLEN-HOWARD REALTY, LLC, a Ne Jersey
Corporation,

                               Defendant

                        STIPULATION FORDISMISSAL WITH PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED, by and between the Attorneys for Plaintiffs,
Ronald Moore and The Independence Project, Inc. (    PIaIntiffs’ and the Attorneys for Defendant,
                                                     m
Allen-Howard Realty, LLC (Defendant”), that Plaintiffs hereby dismiss all claims against Defendant
with prejudice, the parties to bear their own costs and attorney’s foes..
Respectfully Submitted,

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  SO ORDERED:




                                    USDJ
                                               Dated:   //   /2017




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